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                              UNITED STATES DISTRICT COURT
                                DISTRICT OF CONNECTICUT

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    IN RE TEVA SECURITIES LITIGATION                        No. 3:17-cv-558 (SRU)
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                       CONFERENCE MEMORANDUM AND ORDER

       On May 25, 2021, I held a telephonic status conference on the record with Joseph A.

Fonti, J. Christopher Rooney, Susan R. Podolsky, and Evan A. Kubota, attorneys for the lead

plaintiff, Ontario Teachers’ Pension Plan Board, and the named plaintiff, Anchorage Police &

Fire Retirement System; and Emily E. Renshaw, Sheron Korpus, Andrew Schwartz, Sarah

Leivick, Cindy Kelly, Jason Frank, and Jill M. O’Toole, attorneys for the defendants, Teva

Pharmaceutical Industries, Ltd., Erez Vigodman, Eyal Desheh, Sigurdur Olafsson, Deborah

Griffin, Kåre Schultz, Michael McClellan, Yitzhak Peterburg, and Teva Pharmaceutical Finance

Netherlands III B.V. 1 Matthew L. Mustokoff appeared as Liaison Counsel for the Direct Action

Plaintiffs. Veronica N. Onyema and Catherine Montezuma, counsel for Intervenor the United

States of America, also joined the call. David Kaplan, counsel for Intervenor-Plaintiffs

California State Teachers’ Retirement System, State of Wisconsin Investment Board, and TIAA-

CREF Investment Management LLC, was also present. Numerous plaintiffs’ counsel in other

Teva-related actions—that I have consolidated into this case for pre-trial purposes—were also on

the call. Those counsel were:




1
       Ms. O’Toole is not counsel for Kåre Schultz.
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                     Case                                                  Counsel

                                                      Matthew L. Mustokoff (also Liaison Counsel)
Nordea Inv. Mgmt. AB v. Teva Pharm. Indus.,
Ltd., et al., No. 3:18-cv-1681

Revenue, et al. v. Teva Pharm. Indus., Ltd., et
al., No. 3:18-cv-1721

Franklin Mut. Series Funds, et al. v. Teva
Pharm. Indus., Ltd., et al., No. 3:20-cv-1630

                                                      Jonathan Park
Pacific Funds Series Tr., et al. v. Teva Pharm.
Indus., Ltd., et al., No. 3:18-cv-1956

Schwab Capital Tr., et al. v. Teva Pharm.
Indus., Ltd., et al., No. 3:19-cv-192

Stichting PGGM Depositary, et al. v. Teva
Pharm. Indus., Ltd., et al., No. 3:19-cv-1173

Internationale Kapitalanlagegesellschaft mbH
v. Teva Pharm. Indus., Ltd., et al., No. 3:20-
cv-83

                                                      Jan Messerschmidt
Public School Teachers Pension and Ret. Sys.
of Chicago v. Teva Pharm. Indus., Ltd., No.           David A. Slossberg
3:19-cv-175
                                                      Jeffrey P. Nichols
Oregon v. Teva Pharm. Indus., Ltd., et al., No.
3:19-cv-657

                                                      Angel P. Lau
Phoenix Ins. Co., Ltd., et al. v. Teva Pharm.
Indus., Ltd., et al., No. 3:19-cv-449                 William H. Narwold

Harel Pension and Provident Ltd., et al. v.
Teva Pharm. Indus., Ltd., et al., No. 3:19-cv-
656

                                                      Michael J. Wernke
Mivtachim The Workers Social Ins. Fund Ltd.,
et al. v. Teva Pharm. Indus., Ltd., et al., No.
3:19-cv-513

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    Clal Ins. Co., Ltd., et al. v. Teva Pharm.
    Indus., Ltd., et al., No. 3:19-cv-543

    Migdal Ins. Co., Ltd., et al. v. Teva Pharm.
    Indus., Ltd., et al., No. 3:19-cv-655

    Migdal Mut. Funds, Ltd. v. Teva Pharm.
    Indus., Ltd., et al., No. 3:19-cv-923

    Psagot Mut. Funds, Ltd., et al. v. Teva Pharm.
    Indus., Ltd., et al., No. 3:19-cv-1167

                                                             Jennifer A. Randolph
    Highfields Capital I LP, et al. v. Teva Pharm.
    Indus., Ltd., et al., No. 3:19-cv-603

    BH Invs. Funds, LLC, et al. v. Teva Pharm.
    Indus., Ltd., et al., No. 3:20-cv-1635

                                                             Jeffrey R. McEachern 2
    Boeing Co. Emp. Ret. Plans Master Tr. v.
    Teva Pharm. Indus., Ltd., et al., No. 3:20-cv-           David A. Slossberg
    588
                                                             Jeffrey P. Nichols
    Fir Tree Value Master Fund, et al. v. Teva
    Pharm. Indus., Ltd., et al., No. 3:20-cv-683


          I scheduled this call as part of our series of regularly scheduled status conferences to

address discovery and other issues. See Conf. Mem. and Order, Doc. No. 299, at 2. Pursuant to

my order, the parties submitted simultaneous pre-conference briefing. See Order, Doc. No. 772;

Pls.’ Submissions, Doc. Nos. 778 and 782 (sealed); Defs.’ Submission, Doc. No. 780.

          First, we discussed the Defendants’ motion to compel discovery from the Class

Representatives (the named and lead plaintiffs) regarding the Class Representatives’ individual

investment decisions with respect to Teva securities. See Mot. to Compel, Doc. No. 758. That



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          Mr. McEachern has not yet filed a notice of appearance.

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motion was fully briefed and ripe for decision. See Defs.’ Mem. of Law in Supp. Mot. to

Compel, Doc. No. 758-1; Class Representatives’ Opp’n, Doc. Nos. 766 and 767 (sealed); Defs.’

Reply, Doc. No. 774. I denied without prejudice the Defendants’ motion to compel.

         In this action, both discovery and trial shall be bifurcated into two phases. The first phase

will regard class-wide issues (i.e., liability), and the second phase will regard individual issues.

Because the discovery the Defendants request regards only individual issues, now is not the

appropriate time for the Defendants to seek it. As I explained on the record, I disagree with the

Defendants’ contentions that individual discovery—even of a Class Representative—is relevant

to the class-wide issue of materiality 3 or to a class-wide rebuttal of reliance. 4

         Nevertheless, pursuant to the parties’ agreement, the Defendants may still depose Rule

30(b)(6) witnesses from the two Class Representatives regarding “ownership of the Teva

securities at issue in this case” and “profits and losses as a result of that ownership.” Conf.

Mem. and Order, Doc. No. 751, at 4. To the extent that there is any confusion regarding the

scope of those depositions, 5 I clarify that the Class Representatives need testify about only the

Teva securities at issue in this complaint: Teva ADS, Preferred Shares, and Notes, as defined in

both my recent class certification ruling and in the Plaintiffs’ second amended complaint. See In

re Teva Sec. Litig., 2021 WL 872156, at *1 (D. Conn. Mar. 9, 2021); Second Am. Compl., Doc.

No. 310, at 6–9 (glossary).




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         Materiality is an objective standard. See TSC Indus., Inc. v. Northway, Inc., 426 U.S. 438, 445 (1976)
(“The question of materiality, it is universally agreed, is an objective one, involving the significance of an omitted or
misrepresented fact to a reasonable investor.”); see also Fed. Housing Fin. Agency v. Nomura Holding Am., Inc.,
2015 WL 640900, at *6 (S.D.N.Y. Feb. 16, 2015) (“The description of materiality as an element judged by an
objective standard is longstanding.”).
4
         In re Vivendi Universal, S.A. Sec. Litig., 765 F. Supp. 2d 512, 584 (S.D.N.Y. 2011) (“[Q]uestions about
what ‘the market’ as a whole knew are common to all class members.”).
5
         See Defs.’ Mem. of Law in Supp. Mot. to Compel, Doc. No. 758-1, at 15–16.

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          Second, we returned to the issue of the “missing” text messages of six Teva custodians 6

that the Plaintiffs have long sought. See Mot. to Compel, Doc. No. 554; Conf. Mem. and Order,

Doc. No. 751, at 3–4. At this point, the issue concerns the Defendants’ preservation efforts.

After significant debate, the parties agreed (and I ordered) that the best path forward is for the

Defendants to produce (1) all litigation holds directed to the relevant six custodians (see supra

n.6) between January 1, 2013 and June 30, 2016, and (2) all litigation holds that were issued in

general in connection with the matters referenced in the 2014–2016 communications identified

by the Plaintiffs in Exhibit B of their pre-conference submission. See Pls.’ Submission, Doc. No.

782-2 (sealed). The Defendants shall redact those litigation holds to remove any privileged

information. The Defendants shall make that production by June 9, 2021.

          Third, we took up the Sandoz phone records and text messages that the Plaintiffs seek

from the Defendants. The Defendants represented that they produced those records to the

Plaintiffs. Apparently, making that production included resolving an objection from at least one

designating party. I expressed my view that the Defendants have now done what they were

obligated to do, and the Plaintiffs should meet and confer with Sandoz regarding any remaining

issues.

          Fourth, we considered whether the Defendants should be compelled to produce

documents pertaining to internal and external investigations that apparently formed the basis for

several of the Defendants’ public denials of liability. The parties disagree regarding whether the

documents that the Plaintiffs seek are protected by the attorney-client privilege and/or work-

product doctrine. I indicated that, in my view, the communications the Plaintiffs seek likely are




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       Those custodians are: (1) Maureen Cavanaugh, (2) Christine Baeder, (3) Teri Coward, (4) Kevin
Galownia, (5) Nisha Patel, and (6) David Rekenthaler.

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privileged. As I mentioned on the record, if the Plaintiffs intend to pursue this issue further, they

should file a formal motion to compel.

       Fifth, I granted the Defendants and Direct Action Plaintiffs’ joint motion for an extension

of time regarding the briefing schedule for the Defendants’ three recently-filed motions to

dismiss, doc. nos. 784, 786, and 787. The Direct Action Plaintiffs’ oppositions are now due by

July 23, 2021. The Defendants’ replies are now due by September 2, 2021.

       Finally, we discussed the Plaintiffs’ pending motion to compel the Defendants to produce

certain interview memoranda that the DOJ has compiled in its parallel criminal investigation and

produced to Teva. See Mot. to Compel, Doc. No. 770. That motion will be fully briefed by June

11, 2021. We will have a telephonic status conference on Friday, June 25 at 2 p.m. to discuss

that motion. At that status conference, we will also discuss any other outstanding issues,

including the currently-postponed depositions of seven former or current Teva employees based

on their involvement in DOJ’s criminal investigation into Teva. Before the June 25 conference,

the parties may submit simultaneous pre-conference briefs by Wednesday, June 23 at 5 p.m.

Because the DOJ has stated that it has an interest in those depositions, it, too, may file a

simultaneous pre-conference brief by the same time.

       The parties shall hold open Thursday, July 15 at 2 p.m. for another status conference, in

case further issues must be taken up promptly.



       So ordered.

Dated at Bridgeport, Connecticut, this 27th day of May 2021.


                                                              /s/ STEFAN R. UNDERHILL
                                                              Stefan R. Underhill
                                                              United States District Judge

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